                 Case 2:23-bk-00373-FMD                  Doc 34        Filed 05/23/23   Page 1 of 2

[Doddos] [District Order Denying, Disapproving, Overruling, or Striking]




                                            ORDERED.
Dated: May 23, 2023




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             FT. MYERS DIVISION
                                             www.flmb.uscourts.gov



In re:                                                                        Case No.
                                                                              2:23−bk−00373−FMD
                                                                              Chapter 11

H2O Investment Properties LLC




________Debtor*________/



                           ORDER DENYING MOTION FOR RELIEF FROM STAY

   THIS CASE came on for consideration, without hearing, of the Motion for Relief from Stay filed by LVS
Title Trust XIV , Doc. # 33 . After review, the Court determines that the motion is deficient as follows:

         Service upon the Parties in Interest List, defined by Local Rule 1007−2 a current mailing
         matrix obtained from the Clerk of Court is not indicated. Local Rule 9013−3(e).




   Accordingly it is

   ORDERED:

         The motion is denied to allow movant to file an amended motion. No additional filing fee will
         be assessed for the filing of any amended motion filed for the purpose of correcting the noted
         deficiency.
                Case 2:23-bk-00373-FMD              Doc 34      Filed 05/23/23        Page 2 of 2


The Clerk's Office is directed to serve a copy of this order on interested parties.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
